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                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                                  www.flsb.uscourts.gov

       In re: Juan Cabrera Hernandez                                      Case No. 19-21400-RAM
                                                                          Chapter 13
                                Debtor(s)     /

                                              OBJECTION TO CLAIM

                                    IMPORTANT NOTICE TO CREDITOR:
                                  THIS IS AN OBJECTION TO YOUR CLAIM

               This objection seeks either to disallow or reduce the amount or change the
        priority status of the claim filed by you or on your behalf. Please read this objection
        carefully to identify which claim is objected to and what disposition of your claim is
        recommended.

               If you disagree with the objection or the recommended treatment, you must
        file a written response WITHIN 30 DAYS from the date of service of this objection,
        explaining why your claim should be allowed as presently filed, and you must serve
        a copy to the undersigned [attorney][trustee] OR YOUR CLAIM MAY BE DISPOSED
        OF IN ACCORDANCE WITH THE RECOMMENDATION IN THIS OBJECTION.

              If your entire claim is objected to and this is a chapter 11 case, you will not
        have the right to vote to accept or reject any proposed plan of reorganization until
        the objection is resolved, unless you request an order pursuant to Bankruptcy Rule
        3018(a) temporarily allowing your claim for voting purposes.

               The written response must contain the case name, case number, and must be
        filed with the Clerk of the United States Bankruptcy Court.

                 301 North Miami Avenue, Room 150, Miami, FL 33128

        Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1, Debtor objects to the following claim(s)
        filed in this case:
        Claim                                                               Amount of
        No.              Name of Claimant                                   Claim

        3               Quantum3 Group LLC as agent for Aqua Finance Inc        $6,801.09

        Basis for Objection and Recommended Disposition

        On or about September 17, 2019, Creditor filed a fully secured proof of claim in the amount of
        $6,801.09 for a household good credit account ending in 3722. The Debtor’s interest in the collateral
        securing this debt was surrendered by the Debtor in the confirmed plan since the collateral was
        broken. The Debtor requests this debt be allowed as filed without a distribution from the Chapter 13
        Trustee as the collateral has been surrendered by the Debtor in full satisfaction of the claim and
        without any in personam liability to the Debtor.

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        WHEREFORE the above-mentioned Debtor, respectfully requests that the Court grant the relief
        sought herein.
        *Notwithstanding the requirements of Bankruptcy Rule 3007, up to five objections to claim may be
        included in one pleading. (See Local Rule 3007-1(C).)

                                             CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that a true copy of the foregoing was sent on April 29, 2020 electronically to
        Nancy K. Neidich, Trustee and mailed via U.S. First-Class Mail, unless otherwise noted, to:

        Quantum3 Group LLC
        c/o Kayla Klabunde, Auth. Agent
        PO Box 788
        Kirkland WA 98083-0788


                                          CERTIFICATE OF ADMISSION

                I HEREBY CERTIFY that I am a member of the Bar of the United States District Court for the
        Southern District of Florida and I am in compliance with the additional qualifications to practice in this Court
        set forth in Local Rule 2090-1(A).
                                                                  Respectfully Submitted:

                                                                  Robert Sanchez, P.A.
                                                                  Attorney for Debtor
                                                                  355 West 49th Street
                                                                  Hialeah, FL 33012
                                                                  Tel. 305-687-8008
                                                                  Fax. 305-512-9701

                                                                  By: /s/ Robert Sanchez________________
                                                                     [X]Robert Sanchez, Esq., FBN#0442161

        The party filing this objection to claim must file a certificate of service in accordance with Local Rule 2002-
        1(F).




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